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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


JUSTIN JADE COLLINS,

               Plaintiff,

               v.                                              CASE NO. 23-3085-JWL

MELISSA WALDOCK, et al.,

               Defendants.



                                              ORDER

        Plaintiff, a state prisoner appearing pro se and in forma pauperis, filed this civil rights

complaint pursuant to 42 U.S.C. § 1983. This matter is before the Court on Plaintiff’s Motion to

Seal (Doc. 8) and letter to the Clerk of Court (Doc. 9).

        Plaintiff seeks to seal this case, arguing that public access could put his safety at risk. The

Court denies the request to seal this entire case. However, the Court will seal documents

containing facts that could potentially pose a safety issue for Plaintiff.

        Plaintiff has submitted a letter to the Clerk, inquiring as to whether or not he should seek

to amend his Complaint. Court staff are not permitted to give legal advice to litigants. However,

the Court will advise Plaintiff that he will be given an opportunity to respond to the Martinez

Report after it has been filed.

        IT IS THEREFORE ORDERED that Plaintiff’s Motion to Seal (Doc. 8) is denied.

        IT IS FURTHER ORDERED that the Clerk is directed to place Docs. 1, 4, and 8 under

seal.



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IT IS SO ORDERED.

Dated April 13, 2023, in Kansas City, Kansas.

                                  s/ John W. Lungstrum
                                  JOHN W. LUNGSTRUM
                                  UNITED STATES DISTRICT JUDGE




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